











NO. 07-06-0332-CV

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL E

JANUARY 20, 2009

______________________________


DR. NYLA PTOMEY, APPELLANT

v.

TEXAS TECH UNIVERSITY, APPELLEE


_________________________________

FROM THE 99TH DISTRICT COURT OF LUBBOCK COUNTY;

NO. 2003-523,777; HON. WILLIAM C. SOWDER, PRESIDING

_______________________________

Before CAMPBELL and PIRTLE, JJ., and BOYD, S.J.


 
OPINION
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Appellant, Dr. Nyla Ptomey, appeals a summary judgment granted in favor of
appellee Texas Tech University on each of her claims of unlawful age and sex
discrimination and retaliation.  Finding by its traditional motion for summary judgment
Texas Tech conclusively proved a legitimate, non-discriminatory reason for the adverse
employment actions of which Ptomey complains and that the evidence does not raise a
fact issue of pretext, we will affirm.
Background
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;In 1990, Ptomey assumed the associate director of housing for student services
position at Texas Tech.  For 1993, she received an âOutstanding Achievement Awardâ for
work in the housing and dining services office at Texas Tech.  On job evaluations
conducted during 1993, 1994, and 1995 Ptomey received an âoutstandingâ overall rating
from her supervisor, Dr. James Burkhalter.  In the evaluations, Burkhalter noted Ptomeyâs
supervisory skills were âexcellentâ or âvery good.â 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;During July 1997, Ptomey attempted to terminate or reassign staff person Dâaun
Green, prompting a complaint from Green.  Contemporaneously, several of Ptomeyâs
current and former subordinates presented Burkhalter with lengthy written complaints
about Ptomey.  The complaints uniformly portrayed Ptomey as an inflexible authoritarian
manager who fostered an unpleasant work environment.  They voiced an absence of staff
confidence in Ptomey and blamed her for a general negative perception of the division. 
Ptomey was placed on paid administrative leave.  In an August 18 letter, Burkhalter offered
her terms of separation from Texas Tech.  In September 3 letter to Ptomey, Burkhalter
stated problems with her work related back to the inception of her employment at Texas
Tech.  He expressed doubts that the âsituationâ could be âresolve[d] in a positive mannerâ
and again offered terms of separation. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;During August and September 1997, Ptomey was absent from her position on
medical leave.  At this time, Burkhalter implemented changes in Ptomeyâs department
including her reassignment and allocation of certain duties to others.  Contending this
action was a demotion while on approved leave under the Family and Medical Leave Act,



Ptomey complained to vice president of student affairs Dr. Robert Ewalt. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;During 1998, Burkhalter implemented other changes in Ptomeyâs job responsibilities
that she also considered demotions.  Ptomey and Texas Tech officials engaged in a
regular exchange of writings whose substance was frequently critical and even accusative. 
In a September 21, 1999 letter to Ewalt, Ptomey expressed the belief that she was
demoted and excluded by Burkhalter because he accepted the 1997 staff complaints as
true.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;On October 1, 1999, Ptomey filed a charge with the Equal Employment Opportunity
Commission (EEOC) alleging Texas Tech, largely through Burkhalter, engaged in unlawful
discrimination because of her age, sex, and disability.  The EEOC was unable to
substantiate the complaints and issued a right to sue letter on October 31, 2001.  Ptomey
did not file suit.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;In March 2000, Ptomey received an evaluation from Burkhalter that she labeled the
worst of her career.  Following a meeting with Ptomey, Burkhalter amended the evaluation
by memo.  Ptomey did not find the changes acceptable.  According to Ptomey, when she
complained to university personnel director James Brown of continuing discrimination by
Burkhalter, he replied, ââWhy donât you leave?ââ 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;In an August 2000 e-mail to Burkhalter, Ptomey complained of not receiving a
professional publication his office was responsible for delivering.  She also complained of
exclusion from departmental matters and criticized the professionalism of his office.  By
letter, Burkhalter responded that Ptomey had pushed his âgoodwill and tolerance beyond
their limits.â  He placed her on a five-day suspension without pay.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;During June 2001, Ptomey was assigned the position of director of college
development.  The chief responsibility of this position was fund raising for the department
of housing and dining services.  With the position change, Ptomey received a pay grade
reduction although her salary remained unchanged.  Dâaun Green was assigned Ptomeyâs
position as associate director of housing.  Ptomey viewed her reassignment a demotion
and complained to her superiors.  Sean Duggan, director of housing and residential life,
responded by e-mail that if Ptomey was not interested in the position she should tender her
resignation.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The summary judgment record contains the affidavit of Dr. Michael Shonrock, Texas
Techâs vice president of student affairs.  The affidavit states that Texas Tech faced a
âsevere budget shortfallâ in 2001 and reduced funding for fiscal year 2002.  These factors
coupled with other existing liabilities in the division of student affairs resulted in âan
aggressive effort to reduce operating expenses.â  The effort included the elimination of
sixty-six âFTEâs,â or full-time equivalent positions, in the division, and thirteen vacant
positions were left unfilled for a year.


  The Wiggins dining hall was closed.  In a March
2002 memo to Burkhalter, Duggan recommended elimination of the director of college
development position as a cost-saving move.  According to Duggan, the costs of sustaining
the position âare far outweighing the benefits to the department.â  Burkhalter, Brown,
Shonrock, and university EEO director Julio Llanos approved the recommendation. 
According to Shonrockâs affidavit, the essential responsibilities for the position on its
elimination were distributed among seventeen department and division directors.  Eight of
these directors were female and twelve were over age forty. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Ptomey was told of the elimination of her position in an April 10, 2002 meeting.  She
was placed on leave with pay status through August 31, 2002.  Also during April, Duggan
received a $5,000 salary increase. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Ptomey filed a complaint against Texas Tech with the EEOC on July 23, 2002,
alleging that on April 10, 2002, she was the victim of unlawful age and sex discrimination
and retaliation for filing the 1999 EEOC complaint.  The EEOC issued a right to sue letter
after its investigation failed to establish actionable conduct. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Ptomey filed suit under sections 21.051 and 21.055 of the Labor Code


 alleging
unlawful age and sex discrimination, retaliation, and a continuing course of discriminatory
conduct beginning in 1997.  Texas Tech filed a traditional motion for summary judgment
on the ground its supporting evidence conclusively proved a legitimate, non-discriminatory
reason for elimination of Ptomeyâs position and her termination.  Ptomey responded that
the reason was a pretext for discriminatory conduct.  The trial court granted the motion and
dismissed the entire case.  Ptomey timely appealed.
Issue
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;In a single issue, Ptomey argues the trial court erred in granting summary
judgment.



Discussion
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;We review a summary judgment de novo.  Valence Operating Co. v. Dorsett, 164
S.W.3d 656, 661 (Tex. 2005).  When conducting a de novo review of a traditional summary
judgment we apply the following rules: 
(1) The movant has the burden of showing that there is no genuine issue of
material fact and that it is entitled to judgment as a matter of law; (2) in
deciding whether there is a disputed material fact issue precluding summary
judgment, evidence favorable to the nonmovant  will be taken as true; and
(3) every reasonable inference must be indulged in favor of the nonmovant
and any doubts must be resolved in favor of the nonmovant.
Â&nbsp;
Am. Tobacco Co. v. Grinnell, 951 S.W.2d 420, 425 (Tex. 1997) (citing Nixon v. Mr. Prop.
Mgmt. Co., 690 S.W.2d 546, 548-49 (Tex. 1985)).  If the order granting summary judgment
does not specify the ground or grounds on which the trial court relied for its ruling, we will
affirm the summary judgment if any of the theories advanced by the movant are
meritorious.  Carr v. Brasher, 776 S.W.2d 567, 569 (Tex. 1989). 
Age and Sex Discrimination
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;A purpose of the Texas Commission on Human Rights Act (TCHRA) is to âprovide
for the execution of the policies of Title VII of the Civil Rights Act of 1964 and its
subsequent amendments.â


  Tex. Lab. Code Ann. Â§ 21.001(1) (Vernon 2006).  Therefore,
ââanalogous federal statutes and the cases interpreting them guideâ the reading of the
statute.â  Quantum Chem. Corp. v. Toennies, 47 S.W.3d 473, 476 (Tex. 2001).  âAn
employer commits an unlawful employment practice if because of...sex...[or] age the
employer...discharges an individual, or discriminates in any other manner against an
individual in connection with...the terms, conditions, or privileges of employment.â  Tex.
Lab. Code Ann. Â§ 21.051 (Vernon 2006).  When, as here, an employment discrimination
case has not been fully tried on the merits, we apply the McDonnell Douglas Corp. v.
Green burden-shifting analysis.  411 U.S. 792, 802-04, 93 S.Ct. 1817, 1824-26, 36 L.Ed.2d
668 (1973); see also Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 142-43,
120 S.Ct. 2097, 2106, 147 L.Ed.2d 105 (2000); St. Mary's Honor Ctr. v. Hicks, 509 U.S.
502, 506-07, 113 S.Ct. 2742, 2747-48, 125 L.Ed.2d 407 (1993); Wal-Mart Stores, Inc. v.
Canchola, 121 S.W.3d 735, 739 (Tex. 2003).
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Under McDonnell Douglas, the plaintiff in an employment discrimination suit must
first present evidence of a prima facie case of discrimination.  Reeves, 530 U.S. at 142,
120 S.Ct. at 2106; Quantum Chem., 47 S.W.3d at 477.  In the absence of direct evidence,
a plaintiff establishes a prima facie case of unlawful employment discrimination by
showing: (1) she is a member of a protected class; (2) she was qualified for her position;
(3) she was subject to an adverse employment action; and (4) she was replaced by
someone outside the protected class.  See Okoye v. Univ. of Tex. Houston Health Sci. Ctr.,
245 F.3d 507, 512-13 (5th Cir. 2001).  In a discrimination case, â[a]n adverse employment
action means an ultimate employment decision, such as hiring, granting leave, discharging,
promoting, and compensating.â  Foley v. Univ. of Houston Sys., 355 F.3d 333, 340 (5th Cir.
2003).  Because plaintiffs in a workforce reduction case are laid off and frequently unable
to prove the replacement element, the Fifth Circuit requires âevidence, circumstantial or
direct, from which a factfinder might reasonably conclude that the employer intended to
discriminate in reaching the decision at issue.â


  Nichols v. Loral Vought Sys. Corp., 81
F.3d 38, 41 (5th Cir. 1996) (quoting Amburgey v. Corhart Refractories Corp., 936 F.2d 805,
812 (5th Cir. 1991)); see Russo v. Smith Int'l, Inc., 93 S.W.3d 428, 435 (Tex. App.â
Houston [14th Dist.] 2002, pet. denied). 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Once a plaintiff presents a prima facie case of discrimination, the burden shifts to
the defendant to articulate âa legitimate, nondiscriminatory reason for the adverse
employment action.â  Little v. Tex. Depât of Crim Justice, 177 S.W.3d 624, 631
(Tex.App.âHouston [1st Dist.] 2005, no pet.) (citing Reeves, 530 U.S. at 142, 120 S.Ct. at
2106).  The burden is that of production only, not persuasion.  Little, 177 S.W.3d at 631
(citing Reeves, 530 U.S. at 142, 120 S.Ct. at 2106); Russo, 93 S.W.3d at 437-38. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;If the defendant proffers a non-discriminatory rationale for the adverse employment
decision, the burden returns to the plaintiff to show âthat the legitimate reasons offered by
the defendant were not its true reasons, but were a pretext for discrimination.â  Reeves,
530 U.S. at 143, 120 S.Ct. at 2106 (quoting Tex. Dept. of Cmty. Affairs v. Burdine, 450
U.S. 248, 253, 101 S.Ct. 1089, 1093, 67 L.Ed.2d 207 (1981)).  A plaintiff may attempt to
prove intentional discrimination âby showing that [the defendantâs] proffered explanation
is unworthy of credence.â  See id. (citing Burdine, 450 U.S. at 256, 101 S.Ct. at 1095). 
Under the Texas statute, a plaintiff is not required to show the adverse employment action
would not have occurred âbut forâ her age or sex; the statute requires only that she âshow
that discrimination was a motivating factor in an adverse employment decision.â Quantum
Chem., 47 S.W.3d at 482.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;A plaintiff need only produce more than a scintilla of evidence to raise a fact issue
for the trial courtâs summary judgment to be reversed.  Winters v. Chubb &amp; Son, Inc., 132
S.W.3d 568, 576 (Tex.App.âHouston [14th Dist] 2004, no pet.).  More than a scintilla of
evidence exists when the evidence ârises to a level that would enable reasonable and fair-minded people to differ in their conclusions.â  Merrell Dow Pharms., Inc. v Havner, 953
S.W.2d 706, 711 (Tex. 1997).  The burden of establishing a prima facie case of
discrimination is not onerous.  Burdine, 450 U.S. at 248, 253, 101 S.Ct. at 1089, 1094;
Thornbrough v. Columbus &amp; Greenville R.R. Co., 760 F.2d 633, 639 (5th Cir.1985) (â[t]o
establish a prima facie case, a plaintiff need only make a very minimal showingâ); Quantum
Chem., 47 S.W.3d at 477.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;For purposes of this opinion, we will assume, without deciding, that the summary
judgment record contains evidence of a prima facie case of sex or age discrimination.  See
Nichols, 81 F.3d at 41.  Texas Tech bore the burden, therefore, to rebut the presumption
of discrimination arising from a prima facie case.  Its proof, as this is an appeal of a
summary judgment, must be conclusive.  Tex. R. Civ. P. 166a(c); M.D. Anderson Hosp.
and Tumor Inst. v. Willrich, 28 S.W.3d 22, 24 (Tex. 2000) (per curiam).
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;As noted, Texas Tech offered the affidavit testimony of Shonrock, which detailed
a significant budgetary downturn for Texas Tech with a resulting workforce reduction in his
division.  Ptomey argues Duggan, a superior, received a $5,000 pay increase in the budget
that eliminated her position.  Otherwise, she does not challenge the existence of Texas
Techâs workforce reduction plan, including reassignment of her positionâs duties.  We find
the evidence of a legitimate, non-discriminatory purpose sufficient to meet the summary
judgment burden of Texas Tech.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;It was then incumbent on Ptomey to present more than a scintilla of evidence that
Texas Techâs reason for the adverse employment action of which she complains was a
pretext for unlawful discrimination.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;In addressing this burden, Ptomey relied on the events occurring between 1997 and
her termination in 2002 she alleges were discriminatory.  Texas Tech contended in the trial
court that Ptomeyâs discrimination claims may not be based on assertedly discriminatory
events occurring beyond 180 days prior to the filing of her EEOC complaint on July 23,
2002.  A person claiming to be aggrieved by an unlawful employment practice must file a
complaint with the Texas Workforce Commission Civil Rights Division not later than the
180th day after the date the alleged unlawful employment practice occurred.


  Tex. Lab.
Code Ann. Â§ 21.202(a) (Vernon 2006).  To avoid the bar of limitations, Ptomey relies on
the continuing violation doctrine.  This theory applies to expand the scope of actionable
discriminatory events when an unlawful employment practice manifests itself over time,
rather than as a series of discrete acts.  See Webb v. Cardiothoracic Surgery Assocs. of
North Texas, P. A., 139 F.3d 532, 537 (5th Cir. 1998).  As the Fifth Circuit noted in Webb, 
[T]he core idea [of the continuing violation theory] is that equitable
considerations may very well require that the filing periods not begin to run
until facts supportive of a Title VII charge or civil rights action are or should
be apparent to a reasonably prudent person similarly situated.  The focus is
on what event, in fairness and logic, should have alerted the average lay
person to act to protect his rights.
Â&nbsp;
139 F.3d at 537 (quoting Glass v. Petro-Tex Chem. Corp., 757 F.2d 1554, 1560-61 (5th
Cir. 1985)).  See Wal-Mart Stores v. Davis, 979 S.W.2d 30, 31 (Tex.App.âAustin 1998, pet.
denied) (applying continuing violation doctrine).
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Ptomey complained of discrete employment actions in her 1999 EEOC complaint
(e.g., demotion, removal from office facility, and reassignment of subordinate staff).  On
October 29, 2001, she submitted a detailed chronology to the EEOC of conduct by Texas
Tech she alleged was discriminatory and retaliatory.  Yet, after receiving a right to sue
letter from the EEOC concerning her 1999 complaint, she chose not to file suit.  We find
the employment actions Ptomey terms unlawful, occurring outside 180 days of her 2002
EEOC complaint, are untimely and not revived by the continuing violation doctrine.  See
National Railroad Passenger Corporation v. Morgan, 536 U.S. 101, 113, 122 S.Ct. 2061,
2073, 153 L.Ed.2d 106 (2002) (rejecting appellate courtâs application of continuing violation
doctrine to âserial violationsâ and holding untimely discrete actions are not made actionable
even though related to timely alleged discrete actions); Pergram v. Honeywell, 361 F.3d
272, 279-80 (5th Cir. 2004) (denial of training and educational opportunities and client
access were discrete employment actions not subject to continuing violations doctrine). 
They are not actionable in this proceeding. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Moreover, the events to which Ptomey points, beginning with those of July and
August 1997, while demonstrating tension between Ptomey and others in the division, do
not raise an issue of fact that Texas Techâs explanation for the actions it took in April 2002
was a pretext for intentional age and sex discrimination.  The trial court did not err in
dismissing Ptomeyâs age and sex discrimination claims.
Retaliation
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;In her 2002 EEOC complaint, Ptomey alleged Texas Tech eliminated her position
in retaliation for her 1999 complaint.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Under section 21.055, an employer commits an unlawful employment practice if it
retaliates against an employee who:  (1) opposes a discriminatory practice; (2) makes or
files a charge; (3) files a complaint; or (4) testifies, assists, or participates in any manner
in an investigation, proceeding, or hearing.  Tex. Lab. Code Ann. Â§ 21.055 (Vernon 2006).
The McDonnell Douglas burden-shifting standard applies also in claims of unlawful
retaliation.  See Long v. Eastfield College, 88 F.3d 300, 304 (5th Cir. 1996).  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Ptomeyâs prima facie retaliation case requires proof that: (1) she engaged in a
protected activity; (2) she suffered an adverse employment action; and (3) a causal link
exists between the protected activity and the adverse employment action.  See Webb, 139
F.3d at 540.  It is undisputed Ptomey engaged in a protected activity, filing an EEOC
complaint against Texas Tech in 1999, and an adverse employment action occurred when
Texas Tech eliminated her employment position and terminated her.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The parties disagree, however, whether evidence exists of a causal link between the
protected activity and the adverse employment action.  Texas Tech contends the summary
judgment evidence conclusively negates even a prima facie case of retaliation.  The
university first argues too much time elapsed between Ptomeyâs October 1999 complaint
and the adverse employment action in April 2002 to support an inference of causation.  It
is correct that a plaintiff relying on temporal proximity to establish the causal link in her
prima facie retaliation case must present evidence that the intervening period was âvery
close.â  Clark County Sch. Dist. v. Breeden, 532 U.S. 268, 273, 121 S.Ct. 1508, 149
L.Ed.2d 509 (2001).  Temporal proximity has been deemed a âhelpful factorâ in determining
causation.  Eugen v. Rumsfeld, 168 F.Supp.2d 655, 682 (S.D. Tex. 2001).  But here,
Ptomey does not rely on evidence of temporal proximity to establish the causal link in her
prima facie case.  Texas Tech cites no cases supporting defensive use of temporal
proximity to negate conclusively the causal nexus in a plaintiffâs prima facie case and we
find no such authority.  But cf. Mayberry v. Vought Aircraft Co., 55 F.3d 1086, 1092 (5th
Cir. 1995) (court in dicta noted passage of âseveral yearsâ between protected activity and
adverse action might be evidence against retaliation); Anderson v. Limestone County, No.
10-07-0174-CV, 2008 WL 2629664*13-14, 2008 Tex. App. Lexis 5041*37-38
(Tex.App.âWaco July 2, 2008, pet. filed) (mem. op.) (on review of summary judgment,
court inter alia considered eighteen-month lapse between protected activity and adverse
employment action in concluding plaintiff did not raise a fact issue on causation element
of prima facie retaliation case).  We cannot say here the lapse of time between the 1999
EEOC complaint and the 2002 adverse employment action, standing alone, conclusively
negates the causation element of Ptomeyâs prima facie case.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Second, Texas Tech argues the summary judgment record conclusively establishes
the absence of causation because Shonrock, who bore ultimate decision-making authority
for Ptomeyâs position, was unaware of her 1999 EEOC complaint at the time of his decision
to eliminate her position in 2002.  We disagree.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;In his affidavit, Shonrock avers he was unaware of Ptomeyâs 1999 EEOC complaint
at the time of his final decision to eliminate her position, and he did not become aware of
that complaint until he learned of her 2002 EEOC complaint.  In her summary judgment
affidavit Ptomey avers these statements of Shonrock are not true, and points to
memoranda circulated among various Texas Tech administrators, including Shonrock, in
early 2000 concerning her 1999 EEOC complaint.  The summary judgment record contains
memoranda dated January 24, January 31, and February 7, 2000, concerning Ptomeyâs
1999 complaint.  The documents identify Shonrock as an addressee or recipient of a copy. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The burden of establishing a causal link in a plaintiffâs prima facie case is much less
onerous than the burden of proving causation required for the determination of the ultimate
issue of retaliation.  Sherrod v. American Airlines, 132 F.3d 1112, 1122 n.8 (5th Cir. 1998).


 
In Medina v. Ramsey Steel Co., Inc., 238 F.3d 674 (5th Cir. 2001), the Fifth Circuit
reversed summary judgment for the employer on Medinaâs retaliation claim.  En route to
its decision, the court recited evidence that the supervisor who terminated Medina knew
about his prior protected activity, and found that evidence sufficient to meet the causal link
element for purposes of Medinaâs prima facie case.  Id. at 284.


  Indulging every
reasonable inference in favor of Ptomey, as non-movant for summary judgment, we find
the memoranda raise a fact issue concerning Shonrockâs knowledge in 2000 that Ptomey
filed an EEOC complaint in 1999.  Guided by Medina, we conclude the summary judgment
record does not negate Ptomeyâs prima facie case of retaliation. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The burden of production, accordingly, shifted to Texas Tech to articulate a
legitimate, non-retaliatory reason for its decision to eliminate the position of Director of
College Development.  See Long, 88 F.3d at 305.  As we have noted, Ptomeyâs summary
judgment evidence did not dispute that Texas Tech undertook a workforce reduction plan,
eliminating a number of positions in the Student Services division Shonrock headed.  A
reduction in force is a legitimate, non-discriminatory reason for an employeeâs termination. 
Russo, 93 S.W.3d at 438; see Nichols, 81 F.3d at 41.  As with her discrimination claim, we
hold that Texas Techâs production of this legitimate, non-retaliatory reason eliminated the
presumption of discrimination created by Ptomeyâs prima facie case.  Burdine, 450 U.S.
at 254; Quantum Chem., 47 S.W.3d at 477.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Therefore, it was for Ptomey to present some evidence that the articulated reason
for the complained of adverse employment action was false and the real reason for Texas
Techâs action was retaliatory.  See St. Maryâs, 509 U.S. at 515, 113 S.Ct. at 2752. 
Although the presumption of discrimination disappears once the defendant meets its
burden of production, it is still proper to consider the evidence establishing the plaintiffâs
prima facie case âand inferences properly drawn therefrom . . . on the issue of whether the
defendantâs explanation is pretextual.â  Reeves, 530 U.S. at 143, 120 S.Ct. at 2106 (citing
Burdine, 450 U.S. at 255 n.10, 101 S.Ct. at 1095).  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Unlike claims of discrimination brought under Labor Code Â§ 21.125(a), the proper
causation standard for retaliation claims under Â§ 21.055 is the traditional âbut forâ
measure.


  The plaintiff must show the adverse action would not have been taken but for
her protected activity.  Medina, 238 F.3d at 685.  Thus, we must determine whether the
summary judgment proof is of such substance that on its consideration reasonable and
fair-minded people could disagree whether Texas Tech would not have eliminated
Ptomeyâs position but for her 1999 EEOC complaint.  See Garrett v. Great Western Distrib.
Co., 129 S.W.3d 797, 799 (Tex.App.âAmarillo 2004, pet. denied).
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Ptomeyâs proof of causation is a voluminous assortment of writings, some of which
are communications between her and other Texas Tech officials.  Many of the written
exchanges reflect disagreement and perhaps animosity.  For example, in January and
February 2002, Ptomey and other department officials exchanged several e-mails
concerning her request to attend an out-of-town meeting of a professional association at
the departmentâs expense.


  The request was denied.  In a subsequent communication
to Duggan, Ptomey accused him of holding a grudge for an unknown reason and included,
without explanation, a reference to âthe real truth of what happened in 1997.â  And a
lengthy e-mail from Ptomey to a Texas Tech official, following notice of the elimination of
her position, alleged retaliatory conduct that Ptomey there claimed occurred âimmediatelyâ
following her 1999 EEOC complaint.  Ptomey did not attempt to amend her EEOC
complaint or file a related additional complaint nor, as noted, did she file suit after the
EEOC issued a right to sue letter on October 31, 2001.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Having reviewed the entirety of the voluminous record, we find Ptomeyâs proof of
unlawful retaliation for her 1999 complaint rises no higher than speculation, personal belief,
and insupportable inferences.  But to avoid summary judgment, the body of proof must be
more than a mere scintilla.  See Greathouse v. Alvin Indep. Sch. Dist., 17 S.W.3d 419, 425
(Tex.App.âHouston [1st Dist.] 2000, no pet.) (summary judgment for defendant proper in
discrimination case when plaintiffâs evidence amounts to no more than conclusory
allegations, improbable inferences, speculation, or subjective beliefs and feelings). 
Â&nbsp;
Conclusion
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Having found the trial court did not err in granting summary judgment against
Ptomey on each of her theories of recovery, we overrule her appellate issue and sustain
the judgment of the trial court.


James T. Campbell

Justice




;mso-hansi-font-family:Shruti;mso-bidi-font-family:Shruti;mso-char-type:
symbol;mso-symbol-font-family:"WP TypographicSymbols"'&gt;Adetermine whether
the necessary inferences are reasonable based upon the combined and cumulative
force of all the evidence when viewed in the light most favorable to the
verdict.@&nbsp; Hooper v. State, 214
S.W.3d 9, 16-17 (Tex.Crim.App. 2007).Â&nbsp; We must presume that the fact-finder resolved
any conflicting inferences in favor of the prosecution and defer to that
resolution.Â&nbsp; Jackson,
443 U.S. at 326, 99 S.Ct. at 2793; Clayton v.
State, 235 S.W.3d 772, 778 (Tex.Crim.App. 2007).

If, based on all
the evidence, a reasonably-minded jury must necessarily entertain a reasonable
doubt of the defendant's guilt, due process requires that we reverse and order
a judgment of acquittal.Â&nbsp; Swearingen, 101
S.W.3d at 95, (citing Narvaiz v. State, 840 S.W.2d 415, 423 (Tex.Crim.App. 1992)).

A factual
sufficiency review of the evidence is Abarely
distinguishable@ from the legal sufficiency review under Jackson
v. Virginia.Â&nbsp; Marshall
v. State, 210 S.W.3d 618, 625 (Tex.Crim.App.
2006).Â&nbsp; A factual sufficiency
review considers whether the evidence supporting guilt, though legally
sufficient, is so weak that the jury=s verdict seems
clearly wrong and manifestly unjust, or evidence contrary to the verdict is
such that the jury=s verdict is against the great weight and
preponderance of the evidence.Â&nbsp; Id.; Watson v. State, 204 S.W.3d 404, 414-15 (Tex.Crim.App. 2006); Johnson v. State, 23 S.W.3d 1,
11 (Tex.Crim.App. 2000).Â&nbsp; In a factual sufficiency review, we again
consider all the evidence, but now in a neutral light.Â&nbsp; Marshall, 210 S.W.3d
at 625; Watson, 204 S.W.3d at 414.Â&nbsp; Although an appellate court=s authority to
review factual sufficiency permits the court to disagree with the fact-finder=s determinations,
even to a limited degree those concerning the weight and credibility of the
evidence, the appellate court must accord them due deference.Â&nbsp; Marshall, 210 S.W.3d
at 625; Johnson, 23 S.W.3d at 9.Â&nbsp;
When there is a conflict in the evidence, to find it factually
insufficient we must first be able to say, with some objective basis in the
record, that the great weight and preponderance of all the evidence contradicts
the jury=s verdict.Â&nbsp; Watson, 204 S.W.3d
at 417.

We turn now to the evidence.Â&nbsp; On July 30, 2007, Amarillo police officers
Shelton and Hawley went to a specific city residence to look for a Awanted individual.@Â&nbsp;
They had previously received information of appellant=s possible presence at this
location.Â&nbsp; Shelton identified appellant
as the person he sought.Â&nbsp; According to
Hawley, he and Shelton went to the residence in search of a Awanted person@ named Davin
Fassauer.Â&nbsp; To
establish identification, the officers possessed a photograph of
appellant.Â&nbsp; Hawley was familiar with
serving arrest warrants and that the accused sometimes flee.Â&nbsp; The officers had information that appellant
might be a flight risk.

Shelton and Hawley wore blue police
uniforms with visible badges and the word Apolice@ in four inch letters imprinted
across the back.Â&nbsp; On arrival in the
neighborhood, they secluded their patrol car and set up surveillance of the
residence.Â&nbsp; In so doing, they observed a
male, whom they believed was appellant, in front of the residence arguing with
a female.Â&nbsp; She left in a car and it
appeared the male might leave in a pickup.

Amarillo police officers Martinez and
Chappell were also in the area of the residence in a patrol car driven by
Chappell.Â&nbsp; Martinez was in uniform.[2]
He was asked to meet Shelton and Hawley at the residence Aon an arrest warrant they had.@Â&nbsp;
On cross-examination, Hawley acknowledged that he did not know if Aa warrant in this case was sealed or
not.@Â&nbsp;
Shelton called Martinez and Chappell requesting they go to the front
door, identify the male as appellant, and place him under arrest.Â&nbsp; Martinez had previously seen a photograph of
appellant and knew for whom they were looking.Â&nbsp; According to Martinez, as their patrol car
entered the driveway he exited the passenger side before the vehicle stopped
and commanded appellant to Acome here.@Â&nbsp;
Instead, appellant fled on foot and Martinez gave chase commanding, Astop police.@Â&nbsp;
Appellant entered the backyard of a neighborhood residence and emerged
in Hawley=s presence riding a Akid=s bicycle.@Â&nbsp;
When Hawley commanded appellant to get on the ground he slammed the
bicycle down and continued running.Â&nbsp;
Hawley attempted to stop appellant with a taser
but was not successful.Â&nbsp; He ordered
appellant to stop but appellant disobeyed and continued his flight.Â&nbsp; According to a civilian witness, appellant
screamed, A&gt;somebody help me.Â&nbsp; They=re
after me.=@Â&nbsp;
When appellant entered a street and swerved to avoid a vehicle, Hawley
overtook him and physically subdued him.Â&nbsp;
Martinez identified appellant as the person he chased.Â&nbsp; According to Martinez, the evading incident
lasted ten to fifteen minutes.Â&nbsp; Appellant
sustained a cut which required stitches at a local hospital.Â&nbsp; Police then transported him to
detention.Â&nbsp; 

Appellant contends the trial court
sustained a hearsay objection to the testimonial statement of Martinez that he
was asked to meet Shelton and Hawley Âon an arrest warrant they had.ÂÂ&nbsp; Appellant appears to contend that without the
strength of the objected-to testimony, the evidence is legally and factually
insufficient to support a finding the arrest or detention he evaded was
lawful.Â&nbsp; For several reasons, we must
disagree.Â&nbsp; First, in a legal sufficiency
review, we consider all of the evidence the jury was permitted to consider,
whether rightly or wrongly.Â&nbsp; Alexander v. State, 866
S.W.2d 1, 3 (Tex.Crim.App. 1993).Â&nbsp; 

Second, review of the record requires
the conclusion MartinezÂs statement must be considered also in our factual
sufficiency review. The testimony in question was elicited through the
following exchange:

Q. [prosecutor]:Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Why
did you go to [the residence]?

A. [Martinez]:Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; I
was asked to meet Corporal Shelton and Corporal Hawley on an arrest warrant
that they had.Â&nbsp; They asked that I meet
them because they were concerned that the person that was wanted wouldB

Defense Counsel:Â&nbsp;Â&nbsp; I=ll object to their concerns being
hearsay.

The Court:Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Sustained.

A[T]he purpose of
lodging a timely and specific objection is to inform the trial court of the
basis of the objection and to give the court an opportunity to rule on the
specific objection as the evidence is introduced.@Â&nbsp; Sattiewhite v. State, 786 S.W.2d 271, 283 (Tex.Crim.App.
1989).Â&nbsp; A specific objection also
allows Aopposing counsel
an opportunity to remove the objection or supply other testimony.@Â&nbsp; Maynard v. State, 685
S.W.2d 60, 65 (Tex.Crim.App. 1985).Â&nbsp; When evidence contains both admissible and
inadmissible components, a proper objection must point to the inadmissible
component.Â&nbsp; Celotex Corp. v. Tate, 797
S.W.2d 197, 206 (Tex.App.BCorpus Christi
1990, writ dismissed).Â&nbsp; This is precisely
what appellant did by specifically focusing his objection on the concerns
conveyed to Martinez by Hawley and Shelton.Â&nbsp;
We cannot construe appellantÂs objection as extending to Martinez=s explanation of
why he was at the residence.Â&nbsp; 

Moreover,
even assuming arguendo
appellant=s objection included Martinez=s entire response, once uttered the
testimony was before the jury.Â&nbsp; And
appellant made no motion to strike or request for an instruction to
disregard.Â&nbsp; The testimony was therefore
available for the juryÂs consideration. Â&nbsp;ÂWhere an objection is made and sustained
as to testimony which has been heard by the jury the testimony is before the
jury unless the jury is instructed to disregard it.ÂÂ&nbsp; Prudential Ins. Co. v. Uribe, 595 S.W.2d
554, 564 (Tex.Civ.App.--San Antonio 1979, writ refÂd n.r.e); Johnson v. State, 925 S.W.2d 745, 750 (Tex.App.--Fort Worth 1996, pet. refused); Rodriquez v. State, 903 S.W.2d 405,
409-10 (Tex.App.--Texarkana 1995, pet. refused)
(citing Prudential Ins. Co.).Â&nbsp; See also Battles v. Adams, 415 S.W.2d 479,
483 (Tex.Civ.App.BAustin
1967, writ ref=d n.r.e.) (A[s]ince the objection to this testimony was made after its
admission and no motion to strike having been made, the objection was waived
and the testimony was before the court for all that it is worth@); Poole v.
State Highway Department, 256 S.W.2d 168, 172 (Tex.Civ.App.BFort Worth 1953,
writ dismissed) (Atestimony before the jury before objection
thereto is made and sustained is still before them until they are instructed
not to consider it@).Â&nbsp;
Accordingly, we consider MartinezÂs testimony he was asked to meet
Shelton and Hawley Âon an arrest warrant they hadÂ in our evaluation of both
the legal and factual sufficiency of the evidence.

Having reviewed
the entire record, we find a rational trier of fact
could have reasonably concluded that on July 30 police officers Hawley,
Shelton, and Martinez were in uniform and drove to the residence in marked
patrol cars.Â&nbsp; They possessed a warrant
for the arrest of appellant and were at the residence to take him into
custody.Â&nbsp; When appellant saw Martinez and
the patrol car driven by Chappell he fled on foot and did not stop until
physically subdued despite commands to stop.Â&nbsp;


When viewed in the light most favorable to
the verdict, the evidence is legally sufficient to support the verdict of the
jury.Â&nbsp; Additionally, a neutral review of
all the evidence demonstrates neither that the proof of guilt is so weak nor
that conflicting evidence is so strong as to render
the jury's verdict clearly wrong and manifestly unjust.Â&nbsp;Â&nbsp; We overrule appellant=s two issues.

Conclusion

Having overruled
appellant=s two issues, we affirm the judgment of
the trial court.

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; 

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; 

James T. Campbell

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Justice

Â&nbsp;

Do not publish.Â&nbsp; 

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; 








Â&nbsp;











[1] Tex. Penal Code Ann. ' 38.04(a),(b)
(Vernon 2003). Appellant was charged under the former version of the law which
made its violation a Class B misdemeanor in the absence of enhancement factors
not present here.Â&nbsp; 





[2]Â&nbsp;
Officer Chappell did not testify and the record contains no evidence of his
attire.







